    Case 5:17-cr-00018-LGW-BWC Document 204 Filed 12/31/20 Page 1 of 1

                                                                                       FILED
                                                                            John E. Triplett, Acting Clerk
                                                                             United States District Court


                         UNITED STATES DISTRICT COURT                    By CAsbell at 8:54 am, Dec 31, 2020


                         SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

UNITED STATES OF AMERICA                       )        5:17-cr-00018
                                               )
                                               )
             v.                                )
                                               )
                                               )
     ALEX PLUMB                                )


                                       ORDER

      Upon motion of the Government, IT IS HEREBY ORDERED that “The Estate

of Mona Murray” substituted as a restitution payee for original victim Mona Murray

in the captioned case.

      IT IS FURTHER ORDERED that all restitution payments due to "Mona

Murray" be made payable to “The Estate of Mona Murray” and mailed to the

address currently on record for this victim.



      IT IS SO ORDERED, this 31st day of December, 2020.




                                 HONORABLE LISA GODBEY WOOD, JUDGE
                                 UNITED STATE DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
